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U'iAO 2458      (Rev 06/05)Judgment in a Cnmlnal Case              #1013
                Sheet I




                         SOUTHERN                                District of                                   ILLINOIS

           UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                v.
                     KEITH E. HOWARD
                                                                         Case Number:           4:06CR40019-016-JPG

                                                                           USM Number: 06832-025
                                                                           Phillip A. Kramer
                                                                         Defeodant's Attorney
THE DEFENDANT:
d p l e a d e d guilty to count(s)      1 of the Superseding Indictment.

   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                     Offense Ended               Count




       The defendant is sentenced as provided in pages 2 through              10          of this judgment. The sentence is imposed pursuant to
the Sentencing Refom Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 da s of any change of name, resjdence,
or mailing address untllall fines, restitution, costs, and special assessments imposed by this judgment are fu6y paid. If ordered to pay restltutlon,
the defendant must notify the court and United States attorney of mater~alchanges ~neconomc circumstances.




                                                                           J. Phil Gilbert                             District Judge
                                                                           Name ofjudge                               Title of Judge


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                Sheet 2 - lmpr~sanment

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                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total t e r n of.

  240 months on Count 1 of the Superseding Indictment,




      I$   The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal.

      I$ The defendant shall surrender to the United States Marshal for this district:
         I$ at 02:00                                 a.m.    I$ p.m. on 1/2212007
                  as notified by the United States Marshal.

           The defendant shall surrender for sewice of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on

           [?     as notified by the United States Marshal.

                  as not~fiedby the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                           to

 at                                                     , with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL


                                                                             BY
                                                                                                    DEPLlTY UNITED STATES MARSHAL
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             Sheet 3   Supervised Release
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DEFENDANT: KEITH E. HOWARD
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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  1 0 y e a r s on Count 1 of t h e Superseding Indictment



      The defendant must repolt to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 'The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suxrnit to one drug test w~thin15 days of release from lmprtsonment and at least two period~cdrug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a f i r e a m ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f h y m e n i s sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant sliall report to the p rob at ion officer and shall submit a truthful and conlplete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or enlployment;



   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;



  10)     the defendant shall permit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain vtew of the probat~onofttcer;
  11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the robation officer, the defendant shall notifythird parties of risks that may be occasion+ by the defendant's criminal
          record or prsona? history or characterlst~csand shall permlt the probatton officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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                                          SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of s u p e ~ i s e drelease. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 officer.

 X The defendant shall participate in credit counseling as directed by the probation officer
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           Sheet 5 C r i m i n a l Monetary Penalties               #1017
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                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment
 TOTALS            $ 100.00



 •    The determination of restitution is deferred until -An Amended Jurlgrnent in a Criminul Cuse(A0 245C) will be entered
      after such determination.

 [7 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified othelwise /n
      the priority order or percentage payment columnxelow. However, pursuant to 18 Qs.8. 5 366481, all nonfederal vlctlms must be p a d
      before the United States is p a ~ d .




 TOTALS                                $                          0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. Q: 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 9: 3612(g).

 @f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @f the interest requirement is waived for the             @ fine           restitution.
           the interest requirement for the               fine           restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 1 13A of Title 18 for offenses committed on or after
 September 13. 1994, but before Apr~l23, 199%.
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           Sheet 6     ~ c h e d u l eof Payments                    #1018
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                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @ Lunrp sum payment of $                                  due immediately, balance due

                  not later than                                     ,or
           IJ in accordance                IJ C,        IJ D,   IJ    E, or        F below; or

 B    [7 Payment to begin immediately (may be combined with                   C,          D, or   IJF below); or
 C         Payment in equal                    (eg., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

 D    [7 Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
         tern1 of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            While on s u p e ~ i s e drelease. the defendant shall make monthly payments in the amount of $10.00 or 10% of his
            net monthly income, whichever is greater, toward his fine.




 Unless the coult has express1 ordered otherwise, if thisjud ment imposes imprisonment, a ent ofcriminalmoneta~ypenalties is due durin
 i m p r i s o ~ e n t . All crlmina7moneta penalties, except fhose payments made througR t g ~ e d e r a Bureau
 Responsib~l~ty       Program, are made to& clerk of the court.
                                                                                                          l      of Prisons' Inmate          ina an cia?
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount.
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fine principal,
 ( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecut~onand court costs.
